UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE
UNITED STATES OF AMERICA )
Vv. 5 No. 3:20-CR-00021
ANMING HU
)

MOTION FOR ADDITIONAL TIME TO FILE MOTIONS

Now Comes the Defendant Anming Hu and moves this Honorable Court to
extend the Defendant’s Motion cutoff from June 15" to July6th, 2020.

The Court has already ruled this is a complex case. Many facts are relevant and
the Government’s investigation extends several years. There is a large amount of
Discovery that has already been produced in this case. Additional Discovery was
provided as late as mid-May.

Trial in this case is scheduled for December 1, 2020.

At the present time there are pending procedures under the Classified Information
Procedures Act and which will extend into at least August.

The Government has been advised of the Defendant’s request for additional time
and the Government has no objection to extending the Motion cutoff date to July 6",

The interest of justice will best be served by an extension of time until July 6",
Defendant agrees that any additional time would necessarily toll the speedy Trial Act.

WHEREFORE, Defendant respectfully requests a continuance of his Motion
cutoff date until July 6", 2020.

Respectfully submitted this 15" day of June, 2020.

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s/A. Philip Lomonaco
A. Philip Lomonaco, BPR#011579

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CERTIFICATE OF SERVICE

I do hereby certify that a copy of the foregoing document was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt. All other parties will be served by U. S.
Mail. Parties may access this filing through the Court’s electronic filing system.

s/A. Philip Lomonaco

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